Case 1:16-cv-21212-DPG Document 32 Entered on FLSD Docket 10/20/2016 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 16-cv-21212-GAYLES


  IGNACIO PANEQUE, individually and on
  behalf of himself and all others similarly
  situated,
                        Plaintiff,

                 v.

  BANK OF AMERICA, N.A., and
  FRENKEL LAMBERT WEISS WEISMAN
  & GOLDMAN LLP,
                 Defendants.
                                                   /

                                              ORDER

         THIS CAUSE comes before the Court on Defendant Bank of America, N.A.’s (“Bank of

  America”) Motion to Dismiss the Complaint or, in the Alternative, to Strike the Complaint and

  Require a More Definite Statement [ECF No. 15], and Defendant Frenkel Lembert Weiss Weisman

  & Gordon LLP’s (“Frenkel Lembert”) Motion to Dismiss [ECF No. 16]. The Court has carefully

  considered the Complaint, the briefs of counsel, and the applicable law, and is otherwise fully

  advised in the premises.

         The Court need not even reach the substance of the Plaintiff’s claims. A district court has

  the obligation to identify and dismiss a “shotgun” pleading. See Paylor v. Hartford Fire Ins. Co.,

  748 F.3d 1117, 1126-27 (11th Cir. 2014); Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955,

  979 n.54 (11th Cir. 2008), abrogated on other grounds by Iqbal, 556 U.S. 662. Recently, the Elev-

  enth Circuit outlined four types of these pleadings, all of which require amendment because they

  fail “to give the defendants adequate notice of the claims against them and the grounds upon which

  each claim rests.” Weiland v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313, 1323 (11th Cir.
Case 1:16-cv-21212-DPG Document 32 Entered on FLSD Docket 10/20/2016 Page 2 of 3



  2015). One type is a complaint that “commit[s] the mortal sin” of “containing multiple counts

  where each count adopts the allegations of all preceding counts, causing each successive count to

  carry all that came before and the last count to be a combination of the entire complaint,” and

  another is one that “assert[s] multiple claims against multiple defendants without specifying which

  of the defendants are responsible for which acts or omissions, or which of the defendants the claim

  is brought against.” Id. at 1321-23. The Defendants argue that the Plaintiff’s Complaint falls into

  both of these shotgun pleading categories. The Court agrees in part, finding that the Complaint

  does fall into the first category, but not the second.

           As to the first, the opening paragraphs under Counts II, III, IV, and V each repeat the same

  impermissible phrase: “Plaintiff incorporates by reference the prior paragraphs as if set forth fully

  herein.” Compl. ¶¶ 73, 81, 89 & 96. 1 While the Plaintiff has endeavored to argue that shotgun

  pleadings should be dismissed only in circumstances were the pleadings are extremely unclear,

  the Eleventh Circuit in Weiland made no such distinction under these precise circumstances. See

  792 F.3d at 1324 (alteration omitted) (“[T]his Court has condemned the incorporation of preceding

  paragraphs where a complaint ‘contains several counts, each one incorporating by reference the

  allegations of its predecessors, leading to a situation where most of the counts (i.e., all but the first)

  contain irrelevant factual allegations and legal conclusions.’” (quoting Strategic Income Fund,

  L.L.C. v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293, 1295 (11th Cir. 2002))).

           As to the second category, the Complaint often names the Defendants individually in both

  factual and legal allegations, and where the Defendants are combined, “[t]he fact that [they] are

  accused collectively does not render the complaint deficient. The complaint can be fairly read to

  aver that all defendants are responsible for the alleged conduct.” Kyle K. v. Chapman, 208 F.3d
  1
      The Court notes that these “prior paragraphs” are also sloppily numbered. The Complaint’s initial paragraphs number
      1 through 11, then the Complaint skips paragraph 12 and continues from 13 through 19, then goes back to 12, and
      then includes a second instance of paragraphs 13 through 19 before continuing without incident from 20 through
      to the end.


                                                            2
Case 1:16-cv-21212-DPG Document 32 Entered on FLSD Docket 10/20/2016 Page 3 of 3



  940, 944 (11th Cir. 2000), cited with approval in Weiland, 792 F.3d at 1323 n.14.

           Because the Complaint falls under the first category of impermissible shotgun pleadings,

  it shall be dismissed with leave to amend. 2

           Accordingly, it is ORDERED AND ADJUDGED as follows:

           (1)    the Defendants’ Motions to Dismiss [ECF Nos. 15 & 16] are GRANTED. The

                  Plaintiff’s Complaint [ECF No. 1] is DISMISSED WITHOUT PREJUDICE;

           (2)    the Plaintiff SHALL FILE an Amended Complaint no later than November 3, 2016.

                  If he fails to do so, the Court will dismiss the Complaint with prejudice and close the

                  case; and

           (3)    the Defendants shall answer or otherwise respond to the Amended Complaint within

                  fourteen days of service.

           DONE AND ORDERED in Chambers at Miami, Florida, this 20th day of October, 2016.




                                                          ________________________________
                                                          DARRIN P. GAYLES
                                                          UNITED STATES DISTRICT JUDGE




  2
      Should the Defendants wish to move to dismiss the Plaintiff’s amended complaint, the Court advises that they
      themselves are not without sin. On April 6, 2016, this Court entered a Notice of Court Practice in which it ordered
      the following: “Unless otherwise specified by the Court, every motion shall be double-spaced in Times New Roman
      12-point typeface. Multiple Plaintiffs or Defendants shall file joint motions with co-parties unless there are
      clear conflicts of position.” [ECF No. 5]. The Defendants have violated this order in two ways. First, both Bank
      of America’s Motion and its Reply failed to comply with the typeface requirement, as they are written in one-and-a-
      half spacing. Second, both Defendants failed to comply with the one motion requirement by filing separate motions
      to dismiss. Frenkel Lambert’s motion, filed subsequent to Bank of America’s, contains a factual recitation repetitive
      of Bank of America’s, a summary of the arguments advanced by Bank of America, and an adoption of those argu-
      ments “where applicable” before moving on to its own additional arguments. See Frenkel Lambert Mot. at 3-4.
      Neither Bank of America nor Frenkel Lambert have asserted that they have a “clear conflict[] of position” that
      would justify filing a separate motion. Having arguments that apply only to one Defendant does not provide such
      justification. Thus, if the Defendants move to dismiss the amended complaint, they shall do so in a single motion, in
      double-spaced Times New Roman 12-point typeface, that clearly signifies which arguments apply to only one of
      the two Defendants and which arguments apply to both.


                                                             3
